

People v Shelton (2021 NY Slip Op 02732)





People v Shelton


2021 NY Slip Op 02732


Decided on April 30, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2021

PRESENT: WHALEN, P.J., SMITH, CENTRA, PERADOTTO, AND CARNI, JJ. (Filed Apr. 30, 2021.) KA 17-01361.[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, VJERMAINE E. SHELTON, DEFENDANT-APPELLANT. Motion to dismiss granted. Memorandum: The matter is remitted to Supreme Court, Monroe County, to vacate the judgment of conviction and dismiss the indictment (see People v Matteson , 75 NY2d 745 [1989]).








